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                                                       LAW OFFICES OF
                                                  THOMAS F. LlOTTI, LLC
                                               600 OLD COUNTRY ROAD - SUITE 530
                                                 GARDEN CITY, NEW YORK 11530

                                                     TELEPHONE: (516) 794·4700
                                                      FACSIMILE: (516) 794·2816
                                                      WEBSITE: www.tliottLcom
THOMAS F.         LlOTTI~



LUCIA MARIA CIARAVINO'                                                                           JEAN LAGRASTA
                                                                                                 ELLEN LUXMORE
'Also Admitted in CT                                                                             Paralegals


                                                       Sent via ECF only

                                                                     January 17,2020

            Hon. Colleen McMahon
            Chief Judge
            United States District Court
            Southern District of New York
            Daniel Patrick Moynihan U.S. Courthouse
            500 Pearl St.
            New York, NY 10007-1312

            Re:          Cummings v. The City of New York. et al
                         Case No.: 19-cv-07723-CM


            Dear Judge McMahon:

            As you know, my office represents the Plaintiff, Patricia Cummings, in connection with the above-
            referenced action.

            With all due respect, I had not planned to argue the very specific details of the case today, since I
            understood your rules to provide that the matter was scheduled for case management only. Had I
            known in advance oftoday's date that Your Honor expected to have a detailed oral argument, I
            would have asked for permission to have my associate, Lucia Maria Ciaravino, argue since she has
            been working more directly with the Plaintiff. At the very least, I would've asked her to be present.
            If I misread or misunderstood your Honor's rules, I apologize. While I believe that all of your
            questions were nonetheless addressed in our papers, in the event that you have additional questions,
            both my associate and I are available to the extent that you require any additional legal arguments.
            Thank you.




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~Feiiow, American Board of Criminal Lawyers
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Thanking the Court for its consideration, I am



                                                   R~ ct~IY, l~n-------
                                                   Thomas F. Liotti (TL 4471 )

jml

cc: Counsel for Appearing Defendants (via ECF)




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